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               IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                        NORTHERN DIVISION

UNITED STATES OF AMERICA,        )
                                 )
    Plaintiff,                   )
                                 )
          v.                     )CIVIL ACTION NO. 2:17-cv-80-MHT
                                 )
$603,752.76 SEIZED FROM          )
STERLING ACCOUNT NUMBER          )
xxx0558 IN THE NAME OF           )
CLOVERLAND DRUG, INC.;           )
et al.,                          )
                                 )
    Defendants.                  )

           WITHDRAWL OF MOTION FOR SUMMARY JUDGMENT

    Based on representations made by the U.S. Attorney’s

office assuring undersigned counsel that the government

obtained an extension of time to file their action, the

previously filed motion for summary judgment filed by David

and Teresa Saalwaechter, is hereby withdrawn, but without

prejudice to refile at a later date.

    Respectfully submitted this the 14th day of April, 2021.



                                       /s/. J. Doyle Fuller
                                       Fuller & Copeland
                                       2851 Zelda Road
                                       Montgomery, Alabama 36106
                                       Telephone: (334) 270-0020
                                       E-mail:
                                       jdf@fullercopeland.com
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                                       On behalf of David
                                       Saalwaechter, Teresa
                                       Saalwaechter and Cloverland
                                       Drugs, Inc.


                         CERTIFICATE OF SERVICE

          I hereby certify that on April 14, 2021, I

    electronically filed the foregoing with the Clerk of

    Court using the CM/ECF system which will send

    notification of such filing to the following:

Dan W. Taliaferro
Greg L. Davis
Davis & Taliaferro, LLC
7031 Halcyon Park Drive
Montgomery, Alabama 36117
Telephone: (334) 409-0545
E-mail: danwtaliaferro@msn.com
E-mail: gldavis@knology.net
Attorney for RHYOLITE INVESTMENTS, LLC, CJE ENTERPRISES,
LLC, CARL EDMISTON, and BARBARA EDMISTION (“CLAIMANTS”)




Gregory O. Griffin
Assistant United States Attorney
131 Clayton Street
Montgomery, AL 36104
Tel: (334) 223-7280
Fax: (334) 223-7135
Email: gregory.griffin@usdoj.gov
Attorney for the United States

Jeffery C. Duffey
